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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION


CONCORD MUSIC GROUP, INC., ET AL.,                     Case Number: 5:24-cv-03811-EKL-SVK
               Plaintiffs,                             DECLARATION OF NICHOLAS HAILEY
       v.                                              IN SUPPORT OF STIPULATION AND
                                                       [PROPOSED] ORDER TO EXTEND
ANTHROPIC PBC,                                         CASE DEADLINES

               Defendant.                              Hon. Eumi K. Lee
                                                       Magistrate Judge Susan van Keulen
       I, Nicholas Hailey, declare:
       1.      I am a partner at Oppenheim + Zebrak, LLP and counsel of record for Plaintiffs
Concord Music Group, Inc.; Capitol CMG, Inc.; Universal Music Corp.; Songs of Universal, Inc.;
Universal Music – MGB NA LLC; Polygram Publishing, Inc.; Universal Music – Z Tunes LLC;
and ABKCO Music, Inc. (collectively, “Publishers”) in the above-captioned action. I am licensed
to practice law in the District of Columbia and admitted pro hac vice to practice before this Court

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in connection with the above-captioned action. Except as noted otherwise, I have personal
knowledge of the facts herein and, if called to testify, could and would testify competently hereto.

       2.      I submit this declaration in support of Publishers’ and Defendant’s (collectively, the
“Parties”) Joint Stipulation and [Proposed] Order Extending Case Deadlines.
       The reasons for the requested enlargement of time.
       3.      Under the current case schedule, the close of fact discovery, including all written
discovery and deposition of all fact witnesses, is set for April 14, 2025, and the other current case
deadlines for expert discovery, briefing on any dispositive motions and Daubert motions, a joint
pre-trial statement, and a pre-trial conference are set thereafter. See ECF No. 262. Trial is currently
scheduled for March 2, 2026. Id.
       4.      The Parties are currently engaged in fact discovery in accordance with the case
schedule deadlines. Plaintiffs have propounded four sets of requests for production, two sets of
interrogatories, and one set of requests for admission. Defendant has propounded two sets of
requests for production, one set of interrogatories, and one set of requests for admission. The
Parties stipulated to a protective order, which Magistrate Judge van Keulen granted as modified
on January 27, 2025. See ECF No. 292. The Parties have also agreed on a protocol for producing
documents and electronically stored information, which Magistrate Judge van Keulen granted as
modified on February 12, 2025. See ECF No. 298. The Parties have each begun to make rolling
productions of documents in response to discovery requests.
       5.      However, document discovery remains ongoing, and significant documents remain
to be produced in response to outstanding requests. The Parties continue to negotiate with respect
to the scope of discovery and to raise disputes before Magistrate Judge van Keulen when at an
impasse. No fact depositions have yet been noticed or scheduled.
       6.      The Parties agree and stipulate that there is good cause to extend the current case
deadlines by approximately five months, because the significant demands of the case, the number
and nature of the claims and defenses at issue, and the novel nature of certain issues raised will
require additional time for the Parties to complete fact discovery.


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       All previous time modifications in the case, whether by stipulation or Court order.
       7.     The Parties have not previously requested any modifications to the current fact

discovery deadline or other deadlines in the case schedule entered by this Court, ECF No. 262.
       8.     The following time modifications have occurred in this case to date:
              a.      On July 3, 2024, this case was reassigned to the Honorable Jacqueline Scott
                      Corley, and the Court rescheduled the initial case management conference
                      to July 25, 2024. See Order Reassigning Case, ECF No. 132; Clerk’s Notice,
                      ECF No. 133.
              b.      On July 15, 2024, the Court granted the Parties’ stipulation to continue the
                      initial case management conference from July 25, 2024 to August 15, 2024.
                      See ECF No. 159.
              c.      On August 2, 2024, the Court granted the Parties’ stipulation to continue a
                      hearing on Plaintiffs’ Renewed Preliminary Injunction Motion and
                      Defendant’s Motion to Dismiss, previously set for October 3, 2024, to
                      October 10, 2024. ECF No. Order on Stipulation, ECF No. 189.
              d.      On August 21, 2024, this case was reassigned to the Honorable Eumi K. Lee
                      and all then-scheduled hearing dates were vacated. ECF No. 206.
              e.      On December 13, 2024, the Court reset the hearing on Defendant’s Motion
                      to Dismiss, previously scheduled for November 25, 2024, to December 19,
                      2024. ECF No. 279.
              f.      On February 3, 2025, the Court continued the case management conference
                      from February 26, 2025 to March 12, 2025. ECF No. 294.
              g.      On March 5, 20205, the Court continued the case management conference
                      from March 12, 2025 to April 23, 2025. ECF No. 300.
       The effect the requested time modification would have on the schedule for the case.
       9.     The Parties have stipulated to and request an extension by approximately five
months of the fact discovery deadline and a commensurate extension of subsequent case deadlines.
The Parties have also agreed, for discovery on which the Parties agree as of March 5, 2025 to
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substantially complete document production by April 23, 2025. The Parties have agreed on a July
14, 2025 deadline for substantial completion of the remaining document productions. Accordingly,

granting the Parties’ extension would result in the following schedule:
                          Event                                             Deadline
 Initial ADR Deadline                                                     June 30, 2025

 Substantial Completion of Document Production for                        Apr. 23, 2025
 Discovery for Which Each Party Has Agreed as of
 Mar. 5, 2025

 Substantial Completion of Remaining Document                             July 14, 2025
 Productions

 Close of Fact Discovery (including all written                           Sept. 11, 2025
 discovery and deposition of all fact witnesses)

 Identify and Disclose Expert Witnesses and                               Oct. 13, 2025
 Exchange Expert Reports

 Opposition Expert Reports                                                Nov. 6, 2025

 Reply Expert Reports                                                     Dec. 5, 2025

 Depose All Expert Witnesses                                              Jan. 26, 2026

 Close of Briefing on Dispositive and/or Daubert                          Mar. 30, 2026
 Motions

 Hearing on Dispositive and/or Daubert Motions                            Apr. 23, 2026

 Joint Pre-Trial Statement                                                 July 2, 2026

 Pre-Trial Conference                                                     July 15, 2026

 Trial Date                                                       At the Court’s convenience



       I hereby declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.
       Executed in Washington, D.C., this 10th day of March, 2025.


                                                           /s/ Nicholas C. Hailey
                                                              Nicholas Hailey

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